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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 NEUROSURGICAL CARE, LLC                     :
                                             :            CIVIL ACTION
               v.                            :
                                             :            NO. 19-5751
 DOC SOLUTIONS LLC et al.                    :

                                        ORDER

       AND NOW, this 1st day of April, 2021, it is ORDERED that the telephonic Final

Pretrial Conference scheduled for Wednesday, April 28, 2021, at 10:00 a.m. is ADJOURNED

pending further Order of the Court.

       IT IS SO ORDERED.

                                                 BY THE COURT:


                                                  /s/ John Milton Younge
                                                 JUDGE JOHN MILTON YOUNGE
